
43 So. 3d 799 (2010)
Jerry Neil ALFRED, Petitioner,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Respondent.
No. 1D10-1429.
District Court of Appeal of Florida, First District.
August 18, 2010.
Jerry Neil Alfred, pro se, Petitioner.
Bill McCollum, Attorney General, and Joe Belitzky, Assistant Attorney General, Tallahassee, for Respondent.
*800 PER CURIAM.
We hereby grant the petition for writ of mandamus. The circuit court shall rule on the pending motion for rehearing within a reasonable time, not to exceed 30 days from issuance of mandate in this cause. Because we are confident that the circuit court will issue a ruling, we withhold issuance of the formal writ.
HAWKES, C.J., KAHN and PADOVANO, JJ., concur.
